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                                                                                            Apr 12, 2019
l                                                                                           ANGELA E. NOBLE
J                               UNITED STATES DISTRICT COURT                                CLERK U.S. DIST. CT.
                                SOUTHERN DISTRICT OF FLORIDA                                S. D. OF FLA. - MIAMI



                                CaseNo.     19-80056-CR-ALTMAN/BRANNON
                                            18 U.S.C. § 1752(a)(l)
                                            18 U.S.C. § 1001 (a)(2)

     UNITED STATES OF A.t'1ERICA,

     vs.

     YUJING ZHANG,

            Defendant.



                                               INDICTMENT

            The Grand Jury charges that:

                                           COUNT ONE
                         Unlawful Entry of Restricted Buildings and Grounds
                                      (18 U.S.C. § 1752(a)(1))

            On or about March 30, 2019, in Palm Beach County, in the Southern District of Florida,

     the defendant,

                                             YUJING ZHANG,

     did knowingly enter and remain, and attempt to enter and remain, in a restricted building and

     grounds, that is, the Mar-a-Lago Club and its grounds, without lawful authority to do so, in

     violation of Title 18, United States Code, Sections 1752(a)(l) and 2.

                                               COUNT TWO
                                              False Statements
                                           (18 U.S.C. § 1001(a)(2))

            On or about March 30, 201 9, in Palm Beach County, in the Southern District of Florida,

     in a matter within the jurisdiction of the Department of Homeland Security, United States Secret



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 Service, an agency of the executive branch of the Government of the United States, the

 defendant,

                                        YUJING ZHANG,

 did knowingly and willfully make a materially false, fictitious and fraudulent statement and

 representation to a Department of Homeland Security, United States Secret Service Agent, that

 is, when asked whether she was authorized to be at the Mar-a-Lago Club and its grounds, the

 defendant stated she was there to attend a "United Nations Friendship Event," when in truth and

 in fact, and as the defendant then and there well knew, no such event was scheduled at Mar-a-

 Lago and its grounds, in violation of Title 18, United States Code, Section l001 (a)(2).

                                                      A TRUE BILL.




 ASSISTANT UNITED STATES ATTORNEY



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 ASSIST ANT UNITED STATES ATTORNEY



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        Case 9:19-cr-80056-RKA Document 14 Entered
                                 UNITED STATES     on FLSD
                                               DISTRICT     Docket 04/12/2019 Page 3 of 5
                                                        COURT
                                                       SOUTHERN DISTRICT OF FLORIDA

    UNITED STATES OF AMERICA                                   CASE NO.
    vs.
                                                                 CERTIFICATE OF TRIAL ATTORNEY*
    YUJING ZHANG,
       Defendant.
    --------------'                                              Superseding Case Information:

    Court Division: (Select One)                                New Defendant(s)                         Yes           No
                                                                Number of New Defendants
                Miami                       Key West            Total number of counts
                FTL                         WPB      --FTP

                I do hereby certify that:

                1.              I have carefully considered the allegations of the indictment, the number of defendants, the number
                                of probable witnesses and the legal complexities of the Indictment/Information attached hereto.

                2.              I am aware that the information supplied on this statement will be relied upon by the Judges of this
                                Court in setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial
                                Act, Title 28 U.S.C. Section 3161.

                3.              Interpreter:    (Yes or No)       Yes
                                List language and/or dialect     ll7lafi'a'a ri n
                4.              This case will take      5      days for the parties to try.

                5.              Please check appropriate category and type of offense listed below:

                                (Check only one)                                    (Check only one)

                I               0    to 5 days                  _x_                            Petty
                II              6    to 10 days                                                Minor
                Ill             11   to 20 days                                                Misdem.
                IV              21   to 60 days                                                Felony          x
                v               61   days and over

                6.      Has this case been previously fifed in this District Court? (Yes or No)        No
                If yes:
                Judge:                                                            Case No.
                (Attach copy of dispositive order)                                         ---------------
                Has a complaint been filed in this matter?              (Yes or No)        Yes
                If yes:
                Magistrate Case No.                       _19_-_m_._j-_0_8_10_0_-_W_M
                                                                                    _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                Related Miscellaneous numbers:
                Defendant(s) in federal custody as of    03-30-2019
                Defendant(s) in state custody as of      -----------------------
                Rule 20 from the                          D1stnct of

                Is this a potential death penalty case? (Yes or No)                 No


                7.              Does this case originate from a matter pending in the Northern Region of the U.S. Attorney's Office
                                prior to October 14, 2003? _ _ Yes      _x_ No

                8.              Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office
                                prior to September 1, 2007? _ _ Yes _x_ No




                                                                             MICHAEL SHERWIN
                                                                             ASSISTANT UNITED STATES ATTORNEY
                                                                             Court No. A5501230


    'PenaltySheet(s) attached
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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                        PENALTY SHEET

 Defendant's Name: YUJING ZHANG
                      ~-"-"-~~~~"""'-'"-~~~~~~~~~~~-




 Count#: I

 Unlawful Entry of Restricted Buildings and Grounds

 Title 18, United States Code, Section l 752(a)(l)

 *Max. Penalty: 1 Year Imprisonment; $1,000 Fine; and 1 Year Supervised Release

 Count#:2

 False Statements

 Title 18, United States Code, Section 1001 (a)(2)

 *Max. Penalty: 5 Years' Imprisonment; $250,000 Fine; 3 years' Supervised Release

 Count#:




 *Max. Penalty:

 Count#:




 *Max. Penalty:




  *Refers only to possible term of incarceration, does not include possible fines, restitution,
          special assessments, parole terms, or forfeitures that may be applicable.
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                                UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                               CASE NUMBER: - - - - - - - - - -

                                         BOND RECOMMENDATION



DEFENDANT: YUJING ZHANG

                 Pre-Trial Detention
                 (Personal Surety) (Corporate Surety) (Cash) (Pre-Trial Detention)




                                                     By:




Last Known A d d r e s s : - - - - - - - - - - -




What Facility:




Agent(s):               USSS S/A Samuel lvanovich
                        (FBI) (SECRET SERVICE) (DEA)             (IRS) (ICE) (OTHER)
